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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

Courtney Forbes individually Docket No. 10-3501
and on behalf of all others Plaintiff
similarly situated

-against-
Amsher Collection Services,

Inc.; David Sher; Martin Defendant
Sher; and Melanie Sher

 

STIPULATION OF DISMISSAL

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,
the attorneys of record for all parties that whereas no party hereto is an infant,
incompetent person for whom a committee has been appointed or conservatee and no
person not a party has an interest in the subject matter of the action, the above-entitled
action be, and the same hereby is discontinued with prejudice as to the individual plaintiff

but without prejudice as to the putative class members and without costs to either party.

S/ JOSEPH MAURO 1-15-11
Joseph M. Mauro Date
306 McCall Ave.

West Islip, NY 11795

Attorney for Plaintiff

 

S/ ARTHUR SANDERS 1-15-H SO ORDERED.
Arthur Sanders, Esq.
Mel S. Harris & Associates, LLC

5 Hanover Square 8'"" Floor

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New York, NY 10004 pz

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